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12   Attorneys for Plaintiff
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13

14                                      UNITED STATES DISTRICT COURT

15                                   NORTHERN DISTRICT OF CALIFORNIA

16                                          SAN FRANCISCO DIVISION

17   RAMBUS INC.,                                        CASE NO. C 10-03736 JSW
                                                         (Related Case: C 10-04017 JSW)
18                             Plaintiff,
                                                         STIPULATED NOTICE OF DISMISSAL
19                  v.
                                                         [PROPOSED] ORDER
20   INTERNATIONAL BUSINESS MACHINES
     CORPORATION,
21
                               Defendant.
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                                                                          STIPULATED NOTICE OF DISMISSAL
                                                                                       [PROPOSED] ORDER
                                                                                    CASE NO. C 10-03736 JSW
           Case 3:10-cv-03736-JSW Document
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 1                               STIPULATED NOTICE OF DISMISSAL
 2           Plaintiff Rambus Inc. (“Rambus”) and Defendant International Business Machines
 3   Corporation (“IBM”), through their respective counsel, stipulate and request that this Court enter an
 4   order dismissing all claims in this case with prejudice pursuant to Federal Rule of Civil Procedure

 5   41(a). Each party agrees to bear its own attorneys’ fees and costs.

 6           By her signature below, counsel for Rambus attests that counsel for IBM concurs in the filing

 7   of this stipulation.

 8

 9                                                Respectfully submitted,

10   Date: August 24, 2011                        FINNEGAN, HENDERSON, FARABOW,
                                                   GARRETT & DUNNER, L.L.P.
11

12
                                                  By:       /s/ Tina E. Hulse
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                                                         1                                      [PROPOSED] ORDER
                                                                                             CASE NO. C 10-03736 JSW
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 5                                             Attorneys for Defendant,
                                               International Business Machines Corporation
 6

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10                                 [PROPOSED] ORDER
11         PURSUANT TO STIPULATION, IT IS SO ORDERED.

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13
     Dated: August 25
                   __, 2011        _______________________________________
14
                                            The Honorable Jeffrey S. White
15                                          United States District Judge
                                            Northern District of California
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                                                                      STIPULATED NOTICE OF DISMISSAL
                                                2                                  [PROPOSED] ORDER
                                                                                CASE NO. C 10-03736 JSW
